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wEsTERN DISTRICT oF TENNESSEE
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J.B. HUNT TRANSPORT, INC., ) 05 AUG -8 AH 9= 53
)
Plaintiff, ) ease No. 2:05€v2464 1)/V 0005 0 5050
v. ) U.Uit U..S DiSTRU _DOlBT
) W)DOF TN MEWHS
HART’s MANUFACTURING )
coMPANY )
)
Derendant. )

 

ORDER GRANTING REQUEST FOR ENTRY OF DEFAULT

 

Upon the Motion for Entry of Default, entered on August 8, 2005, entry of DEFAULT
IS HEREBY GRANTED against the defendant, Hart’ s Manufacturing Cornpany pursuant to FRCP
55(a).

On June 29, 2005, this Court filed the summons issued to Hart’s Manufacturing Company.
Plaintiff has filed affidavit of service. Defendant had twenty days within Which to answer or
otherwise plead.

ln compliance With Rule 55(a), FRCP., plaintist motion for entry of default against the
above-named defendant is GRANTED. In accordance to Rule 55(c) for good cause shown, the court
may set aside an entry of default

Entered this 8"‘ day of August 2005.

THOMAS M. GOULD

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02464 Was distributed by faX, rnaiI, or direct printing on
August 8, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

